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          EXHIBIT D
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      Overview


      Specifications


   A Closer Look


               AMD Ryzen 7 5000 Series                                8 gigabytes                              NVIDIA GeForce RTX 3050 Ti                       1920 x 1080 (Full HD)
               Processor Model                                        System Memory (RAM)                      Graphics                                         Screen Resolution



                   Budget    Low      Medium     High                    Low      Medium    High   Very High     Entry-Level    Mid-Range       High-End             HD             Full HD   4K Ul



                   Designed for power users                             Excellent multitasking                   Offers gameplay at max settings                  Clearer and sharper than HD
                   Excels at multitasking                               Advanced photo/video editing             Powerful and efficient                           Ideal for movies and games
                   Multimedia creation                                  Mid-range gaming                         Ideal for gaming enthusiasts                     Make the most of Full HD cont


               Why is the processor important?                        How much RAM do I need?                  What's the right graphics card for me?           Compare screen resolutions




   Key Specs                                            Screen Size                                                            15.6 inches


                                                        Screen Resolution                                                      1920 x 1080 (Full HD)


                                                        Touch Screen                                                           No


                                                        Processor Model                                                        AMD Ryzen 7 5000 Series


                                                        Processor Model Number                                                 5800H
                                                                                                                                                                                                      Help

                                                        Processor Speed (up to)                                                3.2 gigahertz

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                                                  Storage Type                                                         SSD


                                                  Total Storage Capacity                                               512 gigabytes


                                                  Solid State Drive Capacity                                           512 gigabytes


                                                  System Memory (RAM)                                                  8 gigabytes


                                                  Graphics                                                             NVIDIA GeForce RTX 3050 Ti


                                                  Operating System                                                     Windows 11 Home


                                                  Battery Type                                                         Lithium-ion polymer


                                                  2-in-1 Design                                                        No


                                                  Backlit Keyboard                                                     Yes




   General                                        Product Name                                                         Legion 5 15" Gaming Laptop - AMD Ryzen 7 5800H - NVIDIA GeForce RTX 3050 Ti -
                                                                                                                       8GB Memory - 512GB SSD

                                                  Brand                                                                Lenovo


                                                  Casing Material                                                      Aluminum


                                                  Model Number                                                         82JW00BFUS/82JW000XUS


                                                  Year of Release                                                      2021


                                                  Color                                                                Phantom Blue


                                                  Color Category                                                       Blue




   Display                                        Screen Type                                                          IPS


                                                  Screen Size                                                          15.6 inches


                                                  Screen Resolution                                                    1920 x 1080 (Full HD)


                                                  Touch Screen                                                         No


                                                                                                                                                                                              Help


   Processor                                      Processor Brand                                                      AMD

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                                                  Processor Model                                                      AMD Ryzen 7 5000 Series


                                                  Processor Model Number                                               5800H


                                                  Processor Cores                                                      8-core


                                                  Processor Speed (up to)                                              3.2 gigahertz




   Storage                                        Storage Type                                                         SSD


                                                  Total Storage Capacity                                               512 gigabytes


                                                  Solid State Drive Capacity                                           512 gigabytes


                                                  Solid State Drive Interface                                          NVMe




   Memory                                         System Memory (RAM)                                                  8 gigabytes


                                                  Type of Memory (RAM)                                                 DDR4


                                                  System Memory RAM Speed                                              3200 megahertz




   Graphics                                       Graphics Type                                                        Dedicated


                                                  GPU Brand                                                            NVIDIA


                                                  Graphics                                                             NVIDIA GeForce RTX 3050 Ti


                                                  Video Memory Type                                                    Dedicated




   Compatibility                                  Operating System                                                     Windows 11 Home


                                                  Operating System Architecture                                        64-bit




   Connectivity                                   Internet Connectivity                                                Wi-Fi, Ethernet
                                                                                                                                                                       Help

                                                  Wireless Networking                                                  Wireless-AX

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                                                  Headphone Jack                                                       Yes


                                                  Bluetooth Enabled                                                    Yes


                                                  NFC Enabled                                                          No


                                                  Number Of Ethernet Ports                                             1


                                                  Number of HDMI Outputs (Total)                                       1


                                                  Number of USB 3.0 Type A Ports                                       4


                                                  Number of USB 3.0 Type C Ports                                       2


                                                  Number of DisplayPort Outputs (Total)                                2


                                                  Internal Carrier                                                     Not Applicable




   Power                                          Power Supply Maximum Wattage                                         230 watts


                                                  Battery Cells                                                        4-cell


                                                  Battery Type                                                         Lithium-ion polymer




   Camera                                         Front-Facing Camera                                                  Yes


                                                  Front Facing Camera Video Resolution                                 720p


                                                  Built-In Microphone                                                  Yes




   Features                                       Cooling System                                                       Air


                                                  2-in-1 Design                                                        No


                                                  Backlit Keyboard                                                     Yes


                                                  Customizable Keyboard Lighting                                       RGB


                                                  Media Card Reader                                                    No
                                                                                                                                                                       Help

                                                  Audio Technology                                                     2 x 2W


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   Dimension                                      Product Height                                                                 0.89 inches


                                                  Product Width                                                                  10.26 inches


                                                  Product Depth                                                                  14.27 inches


                                                  Product Weight                                                                 5.28 pounds




   Certifications & Listings                      ENERGY STAR Certified                                                          No


                                                  EPEAT Qualified                                                                No




   Included                                       Blu-Ray Player                                                                 No


                                                  Stylus Included                                                                No




   Warranty                                       Manufacturer's Warranty - Parts                                                1 year limited


                                                  Manufacturer's Warranty - Labor                                                1 year limited




   Other                                          UPC                                                                            196118026909




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